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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


UNITED STATES                                                               CRIMINAL ACTION

VERSUS                                                                                   No. 10-222

BRIAN TURNER                                                                            SECTION I



                            CERTIFICATE OF APPEALABILITY

         The Court, after considering the record and the requirements of 28 U.S.C. § 2253 and

Fed. R. App. P. 22(b), hereby orders that,

                a certificate of appealability shall be issued having found that petitioner has made
                a substantial showing of the denial of a constitutional right related to the
                following issue(s):




     X          a certificate of appealability shall not be issued for the following reason(s):

                For the reasons expressed in this Court's September 30, 2013 Order and Reasons,
                the petitioner has failed to make a substantial showing of the denial of a
                constitutional right.


         New Orleans, Louisiana, October 17, 2013.


                                                       __________________________________
                                                              LANCE M. AFRICK
                                                       UNITED STATES DISTRICT JUDGE




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